                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                             :
  GRIESING LAW, LLC,                         :
                                             :
                 Plaintiff,                  : CIVIL ACTION NO. 2:22-cv-03302
                                             :
         v.                                  :
                                             :
  KLEINBARD LLC,                             :
                                             :
                 Defendant                   :
                                             :


                               ENTRY OF APPEARANCE

To the Clerk of Court:

       Kindly enter the appearance of James D. Schultz of Holland & Knight LLP as counsel for

Defendant Kleinbard LLC in the above-referenced matter.

                                              Respectfully submitted,

                                              s/ James D. Schultz_________________
                                              James D. Schultz
                                              ID No. 83417
                                              James.Schultz@hklaw.com
                                              HOLLAND & KNIGHT LLP
                                              Cira Centre
                                              2929 Arch Street, Suite 800
                                              Philadelphia, PA 19104
                                              (215) 252-9600

Dated: August 26, 2022
                                 CERTIFICATE OF SERVICE

       I, James D. Schultz hereby certify that on the date indicated below, a true and correct copy

of the foregoing Entry of Appearance was filed via the Court’s ECF system, causing notice and

service of same to be sent to all counsel of record




                                                  s/ James D. Schultz_________________

   Dated: August 26, 2022
